                      .-          W A 10 APPOlhT4ZNTOP AND A U T H O m TO PAY COURT APPOlKlFD COUNSEL
                                Case 1:07-cr-00009-LJO Document 9 Filed 01/26/07 Page 1 of 1
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    11. ATTORNEY'S NAME m t N . m < M.I., LuI N.D.D. ImcmdLn8.DI I I ~ )                    13. COURT ORDER
        AND MAILING          ADDR~FS                                                        M o * p ~ ~ a c o u u ~ ~                         LA c w.m.,d
        HART, KATHERINE                                                                     n s subl F*. F-I   o w n                          C! a subs F ~ R ~ D ~ I A M . V
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            a. Interviews and Coofercnces


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